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                               UNITED STATES OF AMERICA
                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )                 Case No. 1:06-cr-238
                                    )
v.                                  )                 Honorable Gordon J. Quist
                                    )
JUAN CARLOS                         )
GONZALEZ-HERNANDEZ,                 )
                                    )
                  Defendant.        )
____________________________________)


                              REPORT AND RECOMMENDATION

                Pursuant to W.D. MICH . L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on December 15, 2006, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Juan Carlos Gonzalez-Hernandez entered a plea of guilty to count 1 of the

Indictment charging him with conspiracy to distribute and possession with intent to distribute more

than 100 kilograms of marijuana, in violation of 21 U.S.C. §§ 846, 841(a)(1), (b)(1)(B)(vii). On the

basis of the record made at the hearing, I find that defendant is fully capable and competent to enter

an informed plea; that the plea is made knowingly and with full understanding of each of the rights

waived by defendant; that it is made voluntarily and free from any force, threats, or promises; that

the defendant understands the nature of the charge and penalties provided by law; and that the plea

has a sufficient basis in fact.
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                  I therefore recommend that defendant's plea of guilty to count 1 of the Indictment be

accepted and that the court adjudicate defendant guilty of the charge. Acceptance of the plea,

adjudication of guilt, and imposition of sentence are specifically reserved for the district judge.

                  The Clerk is directed to procure a transcript of the plea hearing for review by the

District Judge.



Dated: December 15, 2006                        /s/ Joseph G. Scoville
                                                U.S. Magistrate Judge



                                       NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than ten days after the plea hearing. See W.D.
MICH . L.CR.R. 11.1(d). A failure to file timely objections may result in the waiver of any further
right to seek appellate review of the plea-taking procedure. See Thomas v. Arn, 474 U.S. 140 (1985);
Neuman v. Rivers, 125 F.3d 315, 322-23 (6th Cir.), cert. denied, 522 U.S. 1030 (1997); United States
v. Walters, 638 F.2d 947 (6th Cir. 1981).
